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UNITED sTATEs DISTRICT CoURT
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MICI~IAEL PI-IAN,

Plaintiff,

V CaseNo. 51)9)"(.\]~%3:5"39 PDB

CREDIT CONTROL SERVICES, INC.
d/b/a CREDIT COLLECTION SERVICES,

Defendant.
/

 

COMPLAINT FOR DAMAG ES AND DEMAND FOR JURY TRIAL

Plaintiff, Michael Phan (“Plaintiff”) alleges the following based on personal knowledge

and information belief.
NATURE OF THE ACTION

l. Plaintiff commences this action for damages and other legal and equitable
remedies against Credit Control Services, Inc. d/b/a Credit Collection Services, for its repeat
Violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”).

JURISDICTION AND VENUE

2. The Court has federal question subject matter jurisdiction pursuant to 28 U.S.C. §
l33l and 47 U.S.C § 227. Mims v. A)'rr)w Fr`n. Svcs., L.L.C., 132 S. Ct. 740 (20]2).

3. Venue and personal jurisdiction is proper in this District pursuant to 28 U.S.C. §
l39l because the relevant acts and transactions occurred here, Plaintiff resides here, and

Def`endants transact business here.

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PARTIES

4. Plaintiff is a natural person who resides in the City of .lacksonville, County of
Duval, State of Florida. He is a “person” affected by a violation of the TCPA, as that term is
defined by 47 U.S.C. § 153(10).

5. Defendant Credit Control Services, Inc. d/b/a Credit Collection Services (f‘CCS”)
is a Delaware corporation engaged in the business of collecting debts in Florida. Defendant CCS
is a “debt collector” as that term is defined by 15 U.S.C. 1692a(3).

FACTUAL ALLEGATIONS
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6. Sometime prior to December 28, 2008, Ms. Phan acquired an automobile
insurance policy with Travelers Insurance Company (“Traveler”).

7. Prior to the policy anniversary renew date of May 28, 2009, Traveler increased
her premium by more than 25 percent even though she has no ticket, accident, or claim.

8. On or before May 28, 2009, Ms. Phan mailed a letter informing Travelers that she
would not renewed her policy.

9. Following the Traveler’s cancellation, Ms. Phan acquired a new policy with
Progressive Insurance Company (“Progressive”) on or before May 28, 2009.

l(). Prior to the policy anniversary renew date of December 22, 2009, Progressive
raised her premium by more than 32 percent even though she has no ticket, accident, or claim.

ll. On or before December 22, 2009, Ms. Phan mailed a letter advising Progressive
that she Would not renewed her policy.

12. Upon personal knowledge and information belief, Plaintiff alleges that I\/Is. Phan

has satisfactorily paid all premiums due prior to the policy cancellation.

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l3. Any amount due or owe were result from an unethical “bait and switch” tactics
used by Traveler and Progressive.

14. Upon information and belief, Plaintiff alleges that Travelers and Progressive sold,
transferred or otherwise placed the alleged debts with CCS for collection.

15. ln or around September 24, 2009, Ms. Phan received a collection notice from
CCS demanding a payment of $46.73 allegedly owe or due to Travelers Insurance Company
(“the debt or “the alleged debt”). A copy of this notice is attached hereto as Exhibit “A” and is
incorporated herein by reference

16. ln response, on September 25, 2009, Ms. Phan mailed a certified letter, disputing
the debt, requesting verification, and advising CCS to cease further communication With her
regarding the debt. A copy of this letter is attached hereto as Exhibit “B” and is incorporated
herein by reference

l7. Upon personal knowledge and information belief, the September 25, 2009 letter
was delivered and accepted by CCS’s agent on or around September 28, 2009. A copy of return
receipt requested is attached hereto as Exhibit “C” and is incorporated herein by reference.

18. On or around January 8, 2010, l\/Is. Phan received a collection notice from CCS
demanding a payment of $142.67 allegedly owe or due to Progressive. A copy of this notice is
attached hereto as Exhibit “D” and is incorporated herein by reference.

19. In response, on January 19, 2010, Ms. Phan mailed a certified letter, disputing the
debt, requesting verification, and advising CCS to cease further communication with her
regarding the debt. A copy of this letter is attached hereto as Exhibit “E” and is incorporated

herein by reference

20. Upon personal knowledge and information belief, the Januaiy 19, 2010 letter was

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delivered and accepted by CCS’s agent on or around January 25, 2010. A copy of return receipt
requested is attached hereto as Exhibit “F” and is incorporated herein by reference

21. Upon information and belief, Plaintiff alleges that CCS does not provide
verification for the alleged debt.

22. The debt was a financial obligation that Was primarily for personal, family, or
household purpose and is, therefore, a “debt” as that term is defined by 15 U.S.C. § 1692a(5).
However, neither l\/ls. Phan nor Plaintiff owed money to Travelers or Progressive.

T he Telephone Consumer Protection Act

23. In 1991, Congress enacted the TCPA after finding that autodialer had become a
problematic, posing a nuisance and invading the privacy of telephone subscribers See, e.g.,
TCPA 47 U.S.C. § 227 note; see also 105 Stat 2394 § 2(10). To stop the problem, Congress
prohibited callers from, among other things, using “automatic dialing technology system”
(“ATDS”) to call cellular telephones in the absence of an emergency and without the prior
express consent of the called party, and provided a private right of action with statutory damages
for victims of this practice. See, e.g., 47 U.S.C. § 227(b)(l)(A)(iii), and § 277(b)(3).

24. The prohibition on calls to cellular telephones applies to all ATDS calls,
regardless of the identity of the caller or the content of the call. Despite this, illegal calls, both to
landlines and to cellular telephones, continue to be a widespread problem, as evidenced by CCS
behavior described in this complaint See, e.g., In re.' Rules and Regulations Implementing the
Telephone Consumer Prolection Acl 0f]99], 27 F.C.C.R. 1830, 11 22, 2012 WL 507959 (F.C.C.
2012) (“Since the TCPA’s enactment and the adoption of implementing rules, the Commission
has continued to receive thousands of complaints regarding unwanted auto-dialer calls,” and

“notwithstanding current consent requirements and other TCPA safeguards, consumers continue

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to experience frustration in receiving unwanted auto-dialer calls.”)

25. In recent years, businesses, like CCS, has invested in one or more automatic
telephone systems that are capable of making volume of telephone calls without any human
involvement In doing so, CCS turned to a predictive dialer, which works autonomously until a
human voice comes on the line. If that happens, an agent would joint the call. If that does not
happens, CCS used a prerecorded message made with an artificial voice to deliver the message

26. According to the FCC’s 2008 Declaratory Ruling, predictive dialers use statistical
algorithms to minimize the time that an agent spends waiting between conversations while
minimizing the occurrence of someone answering when no agent is available This provides
saving and efficiency to CCS and their agents, but annoyance to the user of the cellular telephone
to which such calls are placed. An automated call to a landline phone can be an annoyance; an
automated to a cell phone adds expense to annoyance See, e.g., In The Matter Qf Rules and
Regulatir)ns lmplemenling the Telephone Consumer Prolectz'on Act of 1991 ,' Request for ACA
lnternationa[_for Clar{/z`calt'on and Declaratory Rulz`ng, CG Docket No. 02-278, 23 FCC Rcd
559, 565-566 (Dec. 28, 2007).

27. According to the FCC findings, unlike calls placed to landlines, calls made to
wireless numbers can actually cost its recipients money, because cell phone users must
frequently pay their respective wireless service providers either for each ca11 they receive or
incur a usage allocation deduction to their calling plan, regardless of whether or not the call is

authorized Id.

28. Likewise the FCC stated that predictive dialer met the definition of an ATDS
given in the TCPA and therefore subject to the TCPA’s restrictions The key part of the FCC’s

reasoning in determining that a predictive dialer was, in fact, an ATDS were based on the

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statutory definition of ‘automatic telephone dialing system,’ in the TCPA’s legislative history,
and current industry practices and technology, a predictive dialer falls within the meaning and
definition of autodialer and the intent of Congress.” See also, 2003 TCPA O)'der, 18 FCC Rcd. at
1409],11 131.

29. Plaintiff is a bystander, he does not give consent to receive telephone calls from
CCS, and CCS puts a machine on the job called a predictive dialer and repeatedly calling his cell
phone number. All the calls that Plaintiff received from CCS were made in a futile effort to
collect on a debt that he does not owed-.

CCS’s IIlegaI Te!ephone Calls

30. Without Plaintiff’s prior express consent, from January 25, 2010 through
February 12, 2010, CCS made 37 non-emergency telephone calls using a predictive dialer or
ATDS. A copy of the call logs is attached hereto as Exhibit “G” and is incorporated herein by
reference

31. Some of the calls that Plaintiff did not answer, CCS used a prerecorded message
made with an artificial voice and left a voicemail on his cell phone with instruction for him to
return the call at 866-954-4973. The telephone numbers displayed on his caller ID were assigned
or owed by CCS or otherwise spoof by CCS.

32. On January 26, 2010, at 10:17 a.m., Defendant CCS made a telephone call to
Plaintiff cellular telephone using a predictive dialer or ATDS. The phone number displayed on
his caller ID was 617-965-2000. Plaintiff answered and an artificial voice would state, ““This is
an important message for Tuyen Phan. This is regarding to a private business matter. If you are
not the intended party we are trying to reach, please call 1-866-945-4973 and we will cease

further attempts to this number. If you are not the intended party please hand up at this time. This

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message'contains private information and should not be played in a manner where it could be
heard by others. This call is from Credit Collection Services. This is attempt to collect a debt and
any information obtained will be used for that purpose For your privacy protection, visit

wwv\-'.warningnotice.com to access your personal account information. Your file number is xx-

 

xxxx-01272. To hear this message again press #. Thank you.”

33. On January 27, 2010, Defendant CCS made three telephone calls to Plaintiff
cellular telephone using a predictive dialer or ATDS. The phone number displayed on his caller
ID was 617-581-1071. The first call took place at 9:18 a.rn. The second telephone occurred at
2:39 p.m., and the third telephone calls reoccurred at 5:47 p.m. Plaintiff did not answer, and CCS
left the following prerecorded message made with an artificial voice on his voicemail:

“This is an important message for Tuyen Phan. This is regarding to
a private business matter. If you are not the intended party we are
trying to reach, please call 1-866-945-4973 and we will cease
further attempts to this number. If you are not the intended party
please hand up at this time. This message contains private
information and should not be played in a manner where it could
be heard by others. This call is from Credit Collection Services.
This is attempt to collect a debt and any information obtained will
be used for that purpose For your privacy protection, visit
\mvw.warningnotice.corn to access your personal account
information Your file number is xx-xxxx-66455. To hear this
message again press #. Thank you.”

34. On January 28, 2010, Defendant CCS made two telephone calls to Plaintiff
cellular telephone using a predictive dialer or ATDS. The phone number displayed on his caller
ID was 617-965-2000. The first call took place at 9:43 a.m., and the second calls occurred at
6:57 p.m. Plaintiff answered both calls and each time, it played a prerecorded message made
with an artificial voice which stated:

“This is an important message for Tuyen Phan. This is regarding to

a private business matter. If you are not the intended party we are
trying to reach, please call 1-866-945-4973 and we will cease

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further attempts to this number. lf you are not the intended party
please hand up at this time This message contains private
information and should not be played in a manner where it could
be heard by others. This call is from Credit Collection Services.
This is attempt to collect a debt and any information obtained will
be used for that purpose For your privacy protection, visit
www.warningnotice.com to access your personal account
information Your file number is xx-xxxx-01272. To hear this
message again press #. Thank you.”

 

35. On January 29, 2011, Defendant CCS made three telephone calls to Plaintiff
cellular telephone using a predictive dialer or ATDS. The telephone number displayed on his
caller ID was 617-581-1071. The first call happened at 9:28 a.m., the second calls repeated at
3:24 pm, and the third calls reoccurred at 6:07 pm. Plaintiff answered the call place at 6:07 pm,
and an artificial voice would stated, “This is an important message for Tuyen Phan. This is
regarding to a private business matter. if you are not the intended party we are trying to reach,
please call 1-866-945-4973 and we will cease further attempts to this number. If you are not the
intended party please hand up at this time This message contains private information and should
not be played in a manner where it could be heard by others. This ca11 is from Credit Collection
Services. This is attempt to collect a debt and any information obtained will be used for that
purpose For your privacy protection, visit www.wamingnotice.com to access your personal
account information. Your file number is xx-xxxx-66455. To hear this message again press #.
Thank you.”

36. On several occasions, Plaintiff contacted CCS and asked the telephone calls to
stop. On those occurrences, CCS’s debt collectors stated that they would honor his request and
removed his cell phone number from CCS’s calling lists.

37. Despite CCS’s debt collector promised. These telephone calls repeated daily,

happened two or three times each day and continued from January 30, 2010 through February

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12, 2010. Each telephone call usually occurred after 8 o’clock ante-meridiem and reoccurred
before 9 o’clock post-meridiem.

38. Per FCC’s 2008 Declaratory Ruling, the Commission stated that, the burden of
proof is on the creditor or a third party debt collector to demonstrate that Plaintiff has provided
prior express consent to be called Id. Therefore, the burden is on CCS to show proof that
Plaintiff has given consent to be contacted by CCS in the manner alleged herein.

39. On information and belief, Plaintiff alleges that CCS cannot meet this burden of
proof because he did not give consent to receive robotic telephone calls from CCS in the manner
described in the complaint

40. If any consent existed, Plaintiff alleges that his wife has formally withdrew and
revoked such consent in writing. See, e.g., Ex. B and E.

41. Plaintiff further alleges that CCS cannot meet this burden of proof because he has
no prior established business relationships with CCS that resulted in the debt owed.

42. Plaintiff provided neither Travelers nor Progressive his wireless number at any
the time during the transaction or thereafter.

43. Plaintiff did not list a wireless number in or on any document with Travelers or
Progressive at any time during the transaction or thereafter.

44. Plaintiff did not verbally provide CCS his wireless number at any time during the
transaction or thereafter.

45. Direct evidence of CCS using an ATDS or predictive dialer is within the sole
possession of CCS at this stage, and will therefore only come to light once discovery has been
undertaken. However, a reasonable inference can be drawn that the calls described herein were

delivered by an ATDS or predictive dialer based on the genetic content of the calls and the

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existence of similar calls received by Plaintiff.

46. The Association of Credit and Collection Professionals (“ACA International”)
have stated that, “[l]t is clear [the FDCPA and TCPA] apply to consumers and non-consumers
Theref`ore, collectors should take steps to scan their collection lists and ensure debt collectors are
contacting the correct consumer.” ld.

47. ACA International has also concluded that, “[E]rroneously dialed numbers likely
are not exempted from the [TCPA and FCC regulations] pertaining to autodialer and prerecorded
messages Thus, a debt collector may face liability under the TCPA and corresponding FCC
regulations for autodialed and prerecorded message calls placed to the wrong individual.” Id.

48. On information and belief, Plaintiff alleges that CCS have not adopted and
implemented reasonable practices and procedures to effectively prevent autodialer placed calls to
a non-consumer cell phone number. In contrary, CCS has adopted a corporate policy in using
one or more automatic telephone dialing systems that were capable of delivering a prerecorded
message made with an artificial to the wrong individuals just as they did to the Plaintiff`s cellular
telephone in this case

49. CCS acts or practices described above were knowing and done with an entire
want of care that reflects a conscious indifference to the consequences

50. As a direct consequence of CCS willingly or knowingly violated the TCPA,
Plaintiff has suffered harm, continues to suffer from anger, anxiety and frustration.

CAUSES OF ACTION

COUNT I
Negligent Violations of the TCPA, 47 U.S.C. § 227

51. Plaintiff incorporates the allegations contained in 11 l through ‘ll 50 and further

states as follows:

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52. Notwithstanding the fact that Plaintiff did not give express consent to be
contacted, from January 25, 2010 through February 12, 2010, CCS neglectfully made 37 non-
emergency telephone calls to his cellular telephone using one or more automatic telephone
dialing systems. This machine left a dozen useless prerecorded messages made with an artificial
voice on Plaintiff`s voicemail for which he incurred a charge for the incoming calls, in violation
of 47 U.S.C. § 227(b)(1)(A)(iii).

53. The foregoing acts and omissions of CCS constitute numerous and multiple
negligent violations of the TCPA, including but not limited to each and every of the above-cited
provisions of 47 U.S.C. § 277, et seq.

54. As a result of CCS’s negligent violations of 47 U.S.C. § 277 et seq., Plaintiff is
entitled to an award of $500 in statutory damages for each and every violation of the statute,
pursuant to 47 U.S.C. § 227(b)(3)(B).

COUNT ll
Knowing and/or Willful Violations of the TCPA, 47 U.S.C. § 227

55. Plaintiff incorporates the allegations contained in 11 l through 11 54 and further
states as follows:

56. On numerous instances, Plaintiff verbally informed CCS and their debt collectors
to stop calling his cellular telephone because he did not agree to be contacted Even in the absent
Plaintiff’s prior express consent, CCS knowingly made 37 non-emergency telephone calls to
Plaintiff cellular telephone using one or more automatic telephone dialing systems and left a
dozen of prerecorded messages made with an artificial voice on his voicemail for which he
incurred a charge for the incoming calls, in violation of 47 U.S.C. § 227(b)(1)(A)(iii).

57. The foregoing acts and omissions of CCS constitute numerous and multiple

knowing and/or willful violations of the TCPA, including but not limited to each and every one

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TUYEN & MICHAEL PHAN

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PR|VATE NOT|CE b EMA|L MESSAG|NG: |f activated, this office will consider your
private emai| address your preferred method to be contacted. This will help minimize
the need to send physical mail and/or place telephone calls to your residence. You
can activate this option @ www.privatenotlce.com. `

MA|L|NG lNSTRUCTlONS: Enclose bottom portion-with your payment or send
correspondence to: CCS, P.O. Box 9134, Needham Heights, MA 02494-9134 (include
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PAY ONL|NE BY CHECK OR CRED|T CARD

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CHECK-BY-PHONE AND CRED|T CARD ACCOMMODATION

You can instantly pay by check or credil~ card by calling
the above referenced toll free number for assistance
Our Customer Service Representatives are professionally
trained and available during extended business hours.

 

 

 

Please write your file number (above) on your check. To

 

 

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September 24, 2009

 

VIA CERTIFIED MAIL

Article No. 7008 2810 0001 7903 8242
Credit Collection Services

Two Wells Avenue Dept. 9134
Newton, MA 02459

RE: Travelers Insurance Co., Policy Number Ending in 0329
CCS File #: 05 0353 01272

Dear Credit Control Services:

This letter is to inform Credit Control Services (“CCS”) that I received a collection notice dated
September 21 , 2009. Please take notice that 1 dispute the alleged debt and demand validation. Pursuant to
my right under the F air Debt Collection Practice Act (FDCPA), I wish CCS, its representatives and agents
to cease further contacts with me regarding the debt because l will not offer to pay CCS any money.
Furthermore, CCS and its representatives and agents may not contact my family, friends, and neighbors in
relation to this and all other alleged debts either CCS or Travelers claim I owe, pursuant to 15 U.S.C. §
1692c of the FDCPA.

Likewise, lease sto calling me with regard to the debt to the following cellular telephones, phone
numbers: H3347 or -2009, pursuant to the Telephone Consumer Protection Act
(TCPA). 'I`o the extend any prior express consent to the use of any “automatic telephone dialing system"
(“ATDS”) or artificial or prerecorded voice existed when calling this cellular telephone numbers, it is
hereby unequivocally and forever withdraw and terminated both by my will and the law listed above.
Please be advised that non-emergency telephone call to my cellular telephone using any ATDS or
prerecorded message made with an artificial voice without my express consent is prohibited pursuant to

47 u.s.c. § 227(b)(1)(A)(iii).

l am sending CCS a copy of this letter by regular first class mail in case CCS refuse to accept the certified
mail, return receipt requested version of this letter.

lf CCS fails to comply with this notice, l will consider all of my option and remedies provided under the
law.

Please govern yourselves accordingly,

Tuyen N. Phan
9401 Osprey Branch Trail Unit 9
Jacksonville, FL 32256

Cc: Traveler Insurance Company at P.O. Box 6075, Glens Falls, NY 12801

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;Page 15 of 20 Page|D 15

PLA|NTlFF'S
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' Two wells Avenue, Dept. 9134, Newton, MA 02459

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§-w-w-'-d- w Monday - Friday: 8AM - Midnight, ET _{\__C{}
' Saturday: 8AM - 4PM, Sunday: 2PM - 10PM, ET .'.~.,.':._:.:e;

Se|f Service: www.wamingnotice.com g
Toil Free: 1 (800) 326-6400 (Se Habia Espar'tol)

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9401 OSPREY BRANCH TRL

TR #9

JACKSONV|LLE, FL 32257-8158

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FEDERAL LAW

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of the debt or any portion thereof, this office will assume this debt is valid. lf you notify this office 5
in writing within 30 days from receiving this notice, this office will obtain verification of the debt or l
obtain a copy of ajud ment and mail you a copy of such judgment or verification. ii you request l
this office in writing within 30 days after receiving this notice, this office will provide you with the
name and address of the original creditor if different from the current creditor. This is an attempt

to collect a debt and any information obtained will be used for that purpose. This communication
has been sent by a debt coilector. .

FLOR|DA
This collection agency is licensed by the State of F|orida

CREDiT FiEPORTlNG: You are herby notified that a negative credit report reflecting on your
credit record may be submitted to a consumer reporting agency if you fail to fulfill the terms of
your credit obligations. Adverse credit information is scheduled to be reported on or after
02/15/10.
MAiLlNG lNSTRUCTiONS: Enc|ose bottom portion with your payment or send corres ondence
to: CCS, P.O. Box 9134, Needham Heights, MA 02494-9134 (inciude file number be ow). This
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January 18, 2010 PLA|NTlFF'S
EXHlBiT

VIA CERTIFIED MAIL

Article No. 7009 2250 0003 1004 8997
Credit Collection Services

Two Wells Avenue Dept. 9134
Newton, l\/|A 02459

 

RE: Progrcssive lnsurance Policy Number Ending in 1092
CCS File #: 05 0353 01272

Dear Credit Control Services:

This letter is to inform Credit Control Services (“CCS”) that I received a collection notice dated January
1, 2010. Please take notice that l dispute the alleged debt and demand validation. Pursuant to my right
under the Fair Debt Collection Practice Act (FDCPA), l wish CCS, its representatives and agents to cease
further contacts with me regarding the debt because l will not offer to pay CCS any money. Furthermore,
CCS and its representatives and agents may not contact my family, friends, and neighbors in relation to
this and all other alleged debts either CCS or Progressive claim l owe, pursuant to 15 U.S.C. § 1692c of
the FDCPA.

Likewise, lease sto calling me with regard to the debt to the following cellular telephones, phone
numbers: H3347 or _2009, pursuant to the Telephone Consumer Protection Act
(TCPA). 'I`o the extend any prior express consent to the use of any “automatic telephone dialing system”
(“ATDS”) or artificial or prerecorded voice existed when calling this cellular telephone numbers, it is
hereby unequivocally and forever withdraw and terminated both by my will and the law listed above.
Please be advised that non-emergency telephone call to my cellular telephone using any ATDS or
prerecorded message made with an artificial voice without my express consent is prohibited pursuant to

47 u.s.c. § 227(b)(1)(A)(iii).

l am sending CCS a copy of this letter by regular first class mail in case CCS refuse to accept the certified
mail, return receipt requested version of this letter.

lf CCS fails to comply with this notice, l will consider all of my option and remedies provided under the
|aw.

Please govern yourselves accordingly,

Tuyen N. Phan
9401 Osprey Branch Trail Unit 9
Jacl<sonville, FL 32256

Cc: Progressive Insurance Company at P.O. Box 31260, Tampa, FL 33631-3260

           

     

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COLLECTION COMMUNlCATIONS LOG

Credit Control Services, lnc., d/b/a Credit Col|ection Services

  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Call Made to
Date of Ca|l Time of Call Telephone Number Cellular Voicemail
(MM/DD/YY) (AM/PM) Calling From Caller’s Name and Company Telephone ATDS Message
l 01/26/ 10 10:17 am 617-965-2000 Credit Collection Services Y Y Y
2 01/27/10 9118 am 617-581-1071 Y Y Y
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6 01/28/10 6:57 pm Y Y
7 01/29/10 9:28 am 617-581-1071 Y Y
8 01/29/10 3:24 pm Y Y
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10 01/30/ 10 9:23 am 617-965-2000 Y Y Y
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12 02/01/10 9:28 am 617-581-1071 Y Y
13 02/01/10 12:35 pm Y Y
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34 02/10/10 5:21 pm Y Y

 

 

 

 

 

 

 

 

 

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36 02/11/10 ` 6:3.9 pm v . Y Y
37 02/12/10 9:37 am 617-851-2000 Y Y

 

 

 

 

 

 

 

 

 

